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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )          8:05CR164
              Plaintiff,                        )
                                                )
       vs.                                      )            ORDER
                                                )
JOHN S. CRESSON,                                )
                                                )
              Defendant.                        )

       The Court has been advised that the defendant requests permission to enter a plea of
guilty. The Court is further advised that the defendant will consent to Magistrate Judge Thalken
conducting the hearing on the plea of guilty.
       IT IS ORDERED that:
        1.      This case, insofar as it concerns this defendant, is removed from the trial docket
based upon the request of the defendant.
        2.      A hearing on the defendant’s anticipated plea of guilty is scheduled before
Magistrate Judge Thalken on the 4th day of August, 2005 at the hour of 10:30 a.m. in
Courtroom No. 7, Second Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza,
Omaha, Nebraska.
        3.      At least two (2) working days in advance of the plea proceeding above, counsel
for plaintiff and for defendant shall provide to the undersigned magistrate judge a copy of the
following: a) a copy of the Petition to Enter A Guilty Plea; b) a copy of any plea agreement;
and c) a copy of any charging document not yet on file. Failure to meet this deadline will
cause the plea proceeding to be cancelled.
        4.      On or before the date for the plea proceeding, counsel for plaintiff and for
defendant shall provide to the assigned probation officer their respective versions of the
offense for purposes of preparing the presentence investigation report.
        5.      For this defendant, the time between today’s date and the hearing on the
anticipated plea of guilty is excluded for purposes of computing the limits under the Speedy
Trial Act. See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).
        6.      If the defendant is not proficient in the English language, then the defense
counsel must arrange for the person who translated the petition and plea agreement to be
present for entry of the plea OR shall present a completed “DECLARATION OF
INTERPRETER (TRANSLATOR)” form available from the courtroom deputy clerk.

       Dated this 21st day of July, 2005.
                                                    BY THE COURT:
                                                    s/Thomas D. Thalken
                                                    United States Magistrate Judge
